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      1                  IN THE COMMON PLEAS COURT
                         SOUTHERN DISTRICT OF FLORIDA
      2                      CASE NO:17-20608-CIV-JAL

      3

      4      ARWIN NICOLAS ZAPATA CARRERO,
             and all others similarly
      5      situated under 29 USC 216           (B) ,

      6
                                       Plaintiffs,
      7
                                -vs-
      8
             SANABI INVESTMENTS, LLC, dba OSCAR'S MOVING
      9      STORAGE, SAADY BIJANI, et cetera,

    10

    11                                  Defendants.

    12

    13
                                LAW OFFICES OF J.H.        ZIDELL,    P.A,
    14       AT:                300 71 Street
                                Suite 605
    15                          Miami Beach, Florida 33141
                                Tuesday, September 4, 2018
    16                          12:00 p.m.

    17

    18                DEPOSITION OF HUBERT ERNESTO POLANCO

    19

    20                Taken before Rochel Albert,           CSR and Notary

    21       Public in and for the State of Florida at Large,

    22       pursuant to Notice of Taking Deposition filed in
    23       the above cause.

    24

    25          DEPO EXPRESS REPORTING, INC. (305) 305 3333
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      1      APPEARANCES:

      2          NEIL TOBAK,     Esq.
                 LAW OFFICES OF J.H.        ZIDELL
      3          300 71st Street, Suite 605
                 Miami Beach, Florida 33141
      4          Attorney for Plaintiff

      5

      6          JOSH BLOOM, Esq.
                 Lubell I Rosen
      7          200 South Andrews Avenue
                 Fort Lauderdale, Florida 33301-1864
      8          Attorney for Defendants

      9

    10       Also present:       MARIA MARCELLO, INTERPRETER

    11                                  INDEX

    12       WITNESS                       EXAMINATION      BY            PAGE

    13       HUBERT ERNESTO POLANCO          MR. TOBAK                   3,   24
                                             MR.   BLOOM                      22
    14
             EXHIBITS FOR IDENTIFICATION                                  PAGE
    15       None offered.

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      1                             MARIA MARCELLO,

      2                   interpreter, was sworn in to

      3                   translate from English to Spanish

      4                   and Spanish to English to the best of

      5                   her ability.

      6                        HUBERT ERNESTO POLANCO,

      7                   being first duly sworn by the court

      8                   reporter, testified as follows:

      9                               EXAMINATION

    10    BY MR.     TOBAK:

    11           Q      Can you please state your name for the

    12       record?

    13           A      Hubert Ernesto Polanco.

    14           Q      And do you have a phone number?

    15           A      Hurbert,    H-U-B-E-R-T.

    16           Q      Let's do this.       For the record just so

    17       are clear, how do you spell your name?

    18           A      For me to spell my name?

    19           Q      Yes.

    20           A      H-U-B-E-R-T.

    21           Q      The full name, please.

    22           A      Ernesto Polanco.

    23           Q      Can you spell your last name?

    24           A      P-O-L-A-N-C-0.

    25           Q      1 noticed you are looking at a piece of
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     1            A       What is his name?          His brother.   I   mean

     2      his cousin.           Haneen, no.        I do not recall.    I do

     3      not       recall.

     4            Q       Take your time.

     5            A       Haneen.

      6           Q       Would this be the Haneen Preito that            I

     7       asked you about earlier?

      8           A       I   don*t know i f that is his last name.

      9           Q       Tell me about       Haneen?

    10            A       Okay.     Haneen;- for example, I believe he
    11      was paid $14 an hour or something more than that.
    12            Q       How do you know that?

    13            A       I heard the other workers, but was related

    14       to him.

    15            Q       Did you ever work with Haneen?

    16            A       Yes.

    17            Q       Did he ever supervise your work?

    18                    MR.    BLOOM:   Form.

    19                    THE WITNESS:        Yes.     He was his supervisor.

    20            Q       He was your supervisor?

    21            A       No.     Not mine.     Everybody's and the

    22       warehouse.

    23            Q       How do you know that?

    24            A       Because I used to go to the warehouse to

    25       unload furniture         also.
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     1          Q      Tell me a little bit more about that?

     2                 MR.    BLOOM:   Form.

     3                 THE WITNESS:      You would come from any

     4      client, and you would bring furniture to put it in
     5      the warehouse.        Until the client did the closing

     6      in his house, and then we were able to move.                 I

     7      mean it's when the client has problems and they

     8      are not receiving their property.

     9          Q      And Haneen would be there at the

    10      warehouse?

    11                 MR.    BLOOM:   Form.

    12                 THE WITNESS:       Yes.

    13          Q      I am trying to look at what Haneen did
    14      based on your observation.

    15          A      Making sure the whole warehouse was kept
    16      well.     The load was placed in the right place and
    17      paying attention to us.            Anything that we would do
    18      wrong, he would correct us.

    19          Q      Did he ever specifically correct you?

    20          A      No.

    21          Q      Did you see him correct anybody else?
    22          A      Yes,    other new workers.

    23          Q      Give me a couple of specific examples you
    24       saw where Haneen would correct them if they were

    25      doing something wrong?
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     1                  MR.   BLOOM:    Form.

     2                  THE WITNESS:       Okay.     In that warehouse

     3      there were lots.           So a guy would come with a piece
     4      of furniture thinking that it should go in lot
     5       number three.       And then Haneen would come and say

      6      no, do not put that in number three.                 That goes in
     7       lot number five.

      8          Q      Did you ever observe Haneen fire anybody?
      9         A       No.

    10           Q      Are you aware if he had the authority to
    11       do that?

    12                  MR. BLOOM:      Object to form.

    13                  THE WITNESS:       I   don't know.    I   don't know.

    14           Q      Did Haneen pay you?

    15                  MR.   BLOOM:     Form.

    16                  THE WITNESS:       They paid us by check, and
    17       the name of the check was Saady Behani.                 And the

    18       check was distributed by Haneen to every worker.
    19           Q      While working for Oscar's Moving, did you
    20       ever work more than 40 hours in a week?

    21                  MR. BLOOM:       Object to form.

    22                  THE WITNESS:       No.     That is when I     left.

    23       They didn't purchase that much money.
    24           Q      On those three to four to sometimes five

    25       days a week you worked for Oscar's, were you
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     1       to explain to you.         If the transcript gets ordered
     2       by the plaintiff or the defendant, you have the
     3       option to review what the court reporter
     4       transcribed.

     5                  If you choose to do that when we order it,
      6      they will call you and have you come in to review
     7       it.    Or you can waive that now.           They won*t call
      8      you.    Would you prefer to read it or waive it?
      9                 MR. BLOOM:      If I may?      Rivkah and I, we

    10       always generally recommend that you read it.                  You
    11       can always change your mind later on and say that
    12       you don't want to read it anymore.               Rivkah is his
    13       partner.     You can't waive it, and then say you
    14       want to read i t .      No.

    15                  THE WITNESS:       It's all right.

    16                  MR. TOBAK:      All right.      Thank you
    17                  (Ending time 1:00 p.m.)

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     2                          CERTIFICATE OF OATH

     3

     4       STATE OF FLORIDA   )
                                )         SS:
     5      COUNTY OF MIAMI-DADE)

      6

     7                 I, ROCHEL ALBERT, Certified Shorthand

     8    Reporter and Notary Public in and for the State of
      9   Florida at Large, certify that the witness,

    10    personally appeared before me and was duly sworn.
    11

    12                    WITNESS my hand and official seal this
    13       10th day of January,       2019.

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    23                             ROCHEL ALBERT,      CSR
                                   Notary Public, State of Florida
    24                             at Large. My commission expires
                                   September 4, 2021. Bonded
    25                             COMMISSION # GG 102558
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     2                 REPORTER'S DEPOSITION CERTIFICATE

     3

      4                 Ir ROCHEL ALBERT, Certified Shorthand

     5    Reporter, certify that I was authorized to and did
      6   stenographically report the foregoing deposition;
      7   that the foregoing transcript of said witness is a
      8   true and complete record of my stenographic notes of
      9   the deposition by said witness; and that this
    10    computer-assisted transcript was prepared under my
    11    supe rvi s i on

    12                  I further certify that I am not a

    13    relative, employee, attorney or counsel of any of
    14    the parties, nor am I a relative or employee of any
    15    of the parties, attorney or counsel connected with
    16    the action.

    17                  DATED this 10th day of January, 2019.

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    23                              ROCHEL ALBERT,      CSR
                                    Notary Public, State of Florida
    24                              at Large. My commission expires
                                    September 4, 2021. Bonded
    25                              COMMISSION # GG 102558
